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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


DISPLAY TECHNOLOGIES, LLC,


                       Plaintiff,                        Civil Action No. 2:15-cv-1632
                v.                                       JURY TRIAL DEMANDED
JK IMAGING LTD.,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Display Technologies, LLC (“Plaintiff”) files this Complaint against JK Imaging

Ltd. (“Defendant”) alleging as follows:

                                            PARTIES

         1.     Plaintiff Display Technologies, LLC is limited liability company organized under

the state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Upon information and belief Defendant JK Imaging Ltd. is a corporation

organized and existing under the laws of the State of California, having its principal place of

business at 17239 S. Main St., Gardena, CA 90248. Upon information and belief JK Imaging

Ltd. may be served via its registered agent: Mike Feng, 17239 S. Main St. Gardena, CA 90248.

                                    JURISDICTION AND VENUE

         3.     This action arises under the patent laws of the United States, Title 35 of the

United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).
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        4.       Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, Defendant has transacted business in this district, and has committed

and/or induced acts of patent infringement in this district.

        5.       Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

judicial district.

                                   U.S. PATENT NO. 8,671,195

        6.       Plaintiff is the owner by assignment of United States Patent No. 8,671,195 (“the

’195 Patent”) titled “Digital Media Communication Protocol.” The ’195 Patent was duly issued

on March 11, 2014. A true and correct copy of the ’195 Patent is attached as Exhibit A.

        7.       Mr. Leigh M. Rothschild is listed as the inventor of the ’195 Patent.

        8.       On information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’195 Patent complied with such requirements.

                                     COUNT I
                      (INFRINGEMENT OF U.S. PATENT NO. 8,671,195)

        9.       Defendant has, pursuant to 35 U.S.C. § 271, infringed and continues to infringe,

the ’195 Patent in the State of Texas, in this judicial district, and/or elsewhere in the United

States by, among other things, making, using, selling, offering to sell, and/or importing, without

license, systems for selectively transmitting one or more digital media files, such as the Kodak

PixPro AZ651 Digital Camera and PIXPRO Remote View app.
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       10.     Kodak PixPro AZ651 Digital Camera and PIXPRO Remote View app fall within

the scope of at least claim 17 of the ’195 Patent, as evidenced by Defendant’s product

descriptions. For example, the Kodak PixPro AZ651 and PIXPRO Remote View app provide a

digital communication protocol.          See http://kodakcamera.jkiltd.com/docs/manuals/az651-

manual-en.pdf. The Kodak PixPro AZ651 Digital Camera and PIXPRO Remote View app

include at least one media terminal and media node, a communications link between them, the

communications link being initiated by one of the AZ651 Digital Camera or PIXPRO Remote

View app, the media node and terminal structured to transmit a digital file over the

communications link, and the communications link is structured to bypass at least one media

terminal security measure. http://kodakcamera.jkiltd.com/docs/manuals/az651-manual-en.pdf.

       11.     As a result of the Defendant’s infringement of the ’195 Patent, Plaintiff has

suffered monetary damages in an amount not yet determined, and will continue to suffer

damages in the future unless Defendant’s infringing activities are enjoined by this Court.

       12.     Unless a permanent injunction is issued enjoining Defendant and its agents,

servants, employees, attorneys, representatives, affiliates, and all others acting on their behalf

from infringing the ’195 Patent, Plaintiff will be irreparably harmed.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter:

       1.      A judgment in favor of Plaintiff that Defendant has infringed the ’195 Patent;

       2.      A permanent injunction enjoining Defendant and its officers, directors, agents

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

active concert therewith from infringement, inducing the infringement of, or contributing to the

infringement of the ’195 Patent, or such other equitable relief the Court determines is warranted;
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        3.     A judgment and order requiring Defendant pay to Plaintiff its damages, costs,

expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ’195

Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment

infringement; and

        4.     Any and all other relief, at law or equity, to which Plaintiff may show itself to be

entitled.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

        DATED October 7, 2015.                        Respectfully submitted,

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                                                      ATTORNEYS FOR PLAINTIFF
                                                      DISPLAY TECHNOLOGIES, LLC
